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                  ;;_ ~                                             \     NORTHERJ\1 D!STLil : :J:                        .   < \S

                ~~~ IN THE UNITED STATES DISTRICT 1\URT                                      FILEIL.-1
                               NORTHERN DISTRICT OF TEX                                  MAV i 3 2m9 i
                                  FORT WORTH DIVISION                                                                 j 1: W
ERIC C. DARDEN, as Administrator of the
Estate of Jermaine Darden,
                                     §
                                     §
                                                                     L      CLERK. U.S.DISTRIC~~
                                                                             By                  Deputy.                                _
        Plaintiff,                   §                               --·             ·--------
                                     §                 CIVIL ACTION NO. 4:15-CV-221-A
v.                                   §
                                     §
THE CITY OF FORT WORTH, TEXAS, eta!.,§
     Defendants.                     §

                      DEFENDANTS, W.F. SNOW AND J. ROMERO'S,
                        WITNESS LIST FOR EXPERT HEARING

TO THE HONORABLE JUDGE OF SAID COURT:

       As provided in the Court's Apri126, 2019, Order, Defendants, W.F. Snow and J. Romero,

hereby file their Witness List for use in the ordered hearing on their Motion to Exclude Plaintiffs

Experts, and would show unto the Court as follows:

                                DEFENDANTS' WITNESS LIST

       As the burden is plaintiffs to prove the qualifications, relevance, and reliability of his

proffered expert testimony, defendants do not necessarily anticipate calling any witnesses but reserve

the right to call, re-call, and/or cross-examine the following witnesses:

                             WITNESS                                        Sworn                    Testified

 Stan V. Smith

 Craig Miller

 Dr. Janet Elaine Rogers




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                          STATEMENT AS TO EACH WITNESS



           WITNESS                                     SubJect Matter

Stan V. Smith                    Qualifications, relevance, and reliability of this witness
                                 and his proffered opinions
Craig Miller                     Qualifications, relevance, and reliability of this witness
                                 and his proffered opinions
Dr. Janet Elaine Rogers          Qualifications, relevance, and reliability of this witness
                                 and her proffered opinions, as well as sufficiency of
                                 disclosures related to her proposed testimony and
                                 opmwns

                                               Respectfully submitted,




                                               9001 Airport Freeway, Suite 675
                                               North Richland Hills, Texas 76180
                                               (817) 788-1111
                                               Fax: (817) 485-2836
                                               ken 1@ainnail.net

                                               ATTORNEY FOR DEFENDANT
                                               W.F. SNOW




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                                               Austin, Texas 78748
                                               817-625-8866
                                               dlthom31 @yahoo.com

                                               ATTORNEY FOR DEFENDANT
                                               .T. ROMERO


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                                CERTIFICATE OF SERVICE

       I hereby certifY that on May   (?>, 2019, I served a copy of this document on all parties or their
counsel of record:




                                                                                                  PAGE3
